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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
POUGHKEEPSIE DIVISION
--------------------------------------------------------X
In re:
                                                             CHAPTER 11
THE MASTER’S COACH, LTD.,                                    CASE NO. 20-35614 (CGM)

                                    Debtor.
--------------------------------------------------------X

                                 DEBTOR’S PLAN OF REORGANIZATION

               THE MASTER’S COACH, LTD., the above-named debtor (the "debtor") proposes
the following Plan of Reorganization pursuant to the provisions of subchapter V of Chapter 11 of
the Bankruptcy Code, 11 U.S.C. §101, et seq. (the “Code”):

                                                ARTICLE I
                                               DEFINITIONS

      Unless the context otherwise requires, the following terms shall have the following meanings
when used in capitalized form in the Plan:

        1.       “Administrative Claim” shall mean a claim for any cost or expense of
administration with priority under section 503(b) or 507(a)(1) of the Bankruptcy Code, including:
(a) the actual and necessary costs and expenses incurred after the Petition Date of preserving the
Estate and operating the business of the Debtor (such as wages, salaries or commissions for services
and payments for goods and other services and leased premises); (b) compensation for legal,
financial advisory, accounting and other services and reimbursement of expenses awarded or
allowed under section 330(a) or 331 of the Bankruptcy Code, including Professional Fee Claims;
and (c) all fees and charges assessed against the Estate under 28 U.S.C. sections 1911 through 1930.

      2.      “Allowed Claim” shall mean a Claim or any portion thereof (a) as to which
no objection to allowance or request for estimation has been interposed on or before the
Consummation Date or the expiration of such other applicable period of limitation as may be fixed
by the Bankruptcy Code, the Bankruptcy Rules, the Court, or the Plan, (b) as to which any objection
to its allowance has been settled, waived through payment, or withdrawn, or has been denied by a
Final Order, (c) that has been allowed by a Final Order, (d) as to which the liability of the Debtor
and the amount thereof are determined by final order of a court of competent jurisdiction other than
the Court, or (e) that is expressly allowed in a liquidated amount in the Plan, provided however, that
with respect to an Administrative Claim, that nothing herein shall be deemed to require holders of
Administrative Claims incurred by the Debtor in the ordinary course of business, including the
actual, necessary costs and expenses of operating the business of the Debtor, to make a request for
payment of such Administrative Claim pursuant to Section 503(a) of the Bankruptcy Code.

      3.     “Bankruptcy Code” shall mean Title 11, United States Code (Title I of the
Bankruptcy Reform Act of 1978, Publ. 95-598, 92 Stat. 2549, as amended).

       4.      “Bankruptcy Court” or “Court” shall mean the United States Bankruptcy
Court for the Southern District of New York or such other court, as may have jurisdiction over the
Chapter 11 case.

       5.      “Bankruptcy Rules” shall mean, collectively, the Federal Rules of Bankruptcy
Procedure and the Official Bankruptcy Forms, as amended, the Federal Rules of Civil Procedure,
as amended, as applicable to the Chapter 11 Case or proceedings therein, and the Local Rules of the
Court, as applicable to this Chapter 11 case or proceedings therein, as the case may be.

        6.       “Bar Date(s)” shall mean the date(s), if any, designated by the Court as the
last dates for filing proofs of Claims against the Debtor. Said date was fixed as August 7, 2020.

       7.      “Business Day” shall mean any day other than a Saturday, Sunday, or legal
holiday as defined in Rule 9006(a) of the Federal Rules of Bankruptcy Procedure.

        8.      “ Claim” shall mean a claim against the Debtor as defined in Section 101(5)
of the Bankruptcy Code, to wit: (a) right to payment, whether or not such right is reduced to
judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed,
legal, equitable, secured, or unsecured; or (b) right to an equitable remedy for breach of performance
if such breach gives rise to a right to payment, whether or not such right to an equitable remedy is
reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or
unsecured.

        9.     “Class” shall mean a category of holders of claims as set forth in Article II of this
Plan.

       10.       “Confirmation Date” shall mean the date of entry of an Order by the Court
confirming this Plan.

       11.     “Confirmation Order” shall mean the Order of the Court confirming the Plan
pursuant to Section 1129 of the Bankruptcy Code.

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       12.     “Creditor” means any holder of a Claim.

        13. “Debtor” shall mean THE MASTER’S COACH, LTD., as debtor-in-possession, prior
to the Confirmation Date.

        14.    “Disputed Claim” shall mean (a) any claim or portion of a claim (other than
an Allowed Claim), which has been filed pursuant to Section 501(a) of the Bankruptcy Code as
unliquidated or contingent, or (b) a claim which has been filed pursuant to Section 501(a) of the
Bankruptcy Code as to which an objection to the allowance thereof has been interposed within the
time limitation fixed by the Bankruptcy Code, by an order of the Court, or by this Plan, which
objection has not been determined in whole or in part, by a Final Order.

       15.     “Distribution” means the property, including payments, required by the Plan to be
provided to holders of Allowed Claims.

       16.     “Effective Date” means the fifteenth (15th) day following the Confirmation Date.

       17.     “Impaired” shall mean, when used with reference to a Claim or Interest, a
Claim or Interest that is impaired within the meaning of Section 1124 of the Bankruptcy Code.

      18.    “ Insiders” shall have the meaning provided by Section 101(31) of the
Bankruptcy Code.

      19.     “Lien” shall have the meaning provided by Section 101(37) of the
Bankruptcy Code.

         20.    “Petition Date” means June 5, 2020, the date on which the Debtor filed its petition
for relief commencing the Chapter 11 case.

        21.    “Plan” means this Plan of Reorganization dated September 4, 2020 and any exhibits
thereto and any documents delivered in connection therewith, as the same may, from time to time,
be amended by any duly authorized amendment or modification to the extent permitted therein or
by the Bankruptcy Code or Federal Rules of Bankruptcy Procedure.

        22. “Priority Claim” shall mean a Claim which qualifies as such under Section 507(a)
(3),(4) and (6) of the Bankruptcy Code.

       23.     “Priority Tax Claim” shall mean a Claim which qualifies as such under Section
507(a)(8) of the Bankruptcy Code.

       24.       “Schedules” shall mean the schedules of assets and liabilities and the statements of
financial affairs, if any, filed in the Bankruptcy Court by the Debtor as such schedules or statements
may be amended or supplemented from time to time in accordance with Fed. R. Bankr. P. 1009 or
orders of the Bankruptcy Court.

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        25. “Secured Claim” shall mean (a) a Claim that is secured by a lien on property in which
the Estate has an interest, in which lien is valid, perfected and enforceable under applicable law or
by reason of a Final Order, or that is subject to setoff under section 553 of the Bankruptcy Code, to
the extent of the value of the Creditor’s interest in the Estate’s interest in such property or to the
extent of the amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the
Bankruptcy Code, or (b) a Claim Allowed under this Plan as a Secured Claim.

      26.   “Unimpaired” shall mean not impaired within the meaning of section 1124 of the
Bankruptcy Code.

        27.     “Unsecured Claim” shall mean any Claim that is not an Administrative Claim, a
Priority Claim, a Priority Tax Claim, a Secured Claim or an Interest.

       28.      “U.S. Trustee” shall mean the Office of the United States Trustee for Region 2,
Southern District of New York.

                                     ARTICLE II
                              BACKGROUND OF THE DEBTOR

               The Master’s Coach, Ltd. was formed over 35 years ago and operates as a provider
of ambulatory services for the elderly, disabled and handicapped. The Master’s Coach, Ltd. is
located in Wallkill, New York and provides services to Orange, Ulster and Dutchess Counties. The
Master’s Coach (and its employees) has a reputation for providing consistent, courteous and
professional services. As a result of a number of factors, including the debtor’s principal suffering
from health issues and, most recently Covid-19, The Master’s Coach, Ltd.’s cash flow has been
greatly impacted. This subchapter V case under Chapter 11 of the Bankruptcy Code was filed to
provide The Master’s Coach, Ltd. with an opportunity to restructure its high interest, short-term
loans and payroll tax obligations with the Internal Revenue Service.

                                   ARTICLE III
                     CLASSIFICATION OF CLAIMS AND INTERESTS

       All claims and interests against the debtor shall be divided into the following classes:

       CLASS 1 – Administrative Claims

               All Allowed Claims consisting of the actual and necessary costs and expenses of
administration entitled to priority in accordance with 11 U.S.C. §507(a)(1), including, but not
necessarily limited to, debtor’s counsel fees and fees of the Subchapter V Trustee, once approved
by order of the Court pursuant to 11 U.S.C. §330.

     CLASS 2 – Class 2 consists of the Allowed Secured Claim of Walden Savings Bank
(“WSB”), with respect to the notes and security agreements on the debtor’s assets, perfected by a
UCC-1 filing, originally filed on February 7, 2005, with continuations filed through December 17,

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2019.

        CLASS 3 – Class 3 consists of the Secured Claim of the Internal Revenue Service.

      CLASS 4 – Class 4 consists of the holders of Allowed Secured Claims pursuant to purchase
money security interests in vehicles owned by the debtor.

        CLASS 5 – The Allowed Unsecured Claims of non-insider unsecured claimants of the debtor
not entitled to priority pursuant to 11 U.S.C. §507, to the extent not included in another class of
claims, including without limitation any claims arising as a result of the operation of 11 U.S.C. §506.

        CLASS 6 – The interest of the principals of the debtor, David & Nancy Barnhart.

                           ARTICLE IV
 A. TREATMENT OF CLAIMS AND INTERESTS – NOT IMPAIRED (NON-VOTING)

        CLASS 1 – Class 1 claims shall be paid in full or in accordance with an agreement between
the debtor and the claimant. At the present time, it is estimated that administrative expenses with
consist of the following: (1) approximately $20,000.00 in attorneys’ fees, expenses and
disbursements to the firm of GENOVA & MALIN, less the pre-petition retainer fee and costs paid
by the debtor in the sum of $16,717.00; (2) approximately $5,000.00 in fees owed to the Sub-
Chapter V Trustee, Eric Huebscher; and (3) U.S. Trustee quarterly fees, if any, shall be paid on the
effective date of the Plan and shall continue to be paid post-confirmation, pursuant to 28 U.S.C.
§1930, until such time as the Court enters a final decree closing the case. Total unpaid
administrative debt is estimated at $7,000.00.

        CLASS 3 – The Secured Claim of the Internal Revenue Service (the “IRS”) shall be paid
by the debtor in full over a five (5) year period from the Petition Date, in accordance with 11 U.S.C.
§1129(a)(9)(C). The secured portion of the IRS’s claim is $185,860.28. The debtor shall pay to the
IRS monthly payments, including two percent (2%) interest per annum, beginning on the Effective
Date of the Plan, and continuing for approximately 54 months, in the sum of $3,602.00.

        CLASS 4 – The holders of the Allowed Secured Claims stemming from purchase money
security interests in vehicles owned by the debtor. The debtor is a party to 4 vehicle loans with
United Leasing, Inc. The claims of United Leasing, Inc. shall be paid in accordance with the pre-
petition agreements between the debtor and United Leasing, Inc.

      CLASS 6 – Class 6 consists of the interests of the principals of the debtor, David and Nancy
Barnhart. The holders of the Class 6 interests shall retain their interests.




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        B. TREATMENT OF CLAIMS AND INTERESTS – IMPAIRED (VOTING)

        CLASS 2 – Class 2 consists of the Secured Claim of Walden Savings Bank, evidenced by
notes and security agreements, totaling the original principal amount of $45,000.00 and secured by
substantially all the debtor’s assets. The Secured Claim of Walden Savings Bank shall be amortized
at two percent (2%) interest over seven (7) years. This results in monthly payments by the debtor
to Walden Savings Bank in the amount of $574.53. The first payment on the Class 2 claim shall be
made on the first day of the calendar month immediately following the Effective Date.

        CLASS 5 – Class 5 consists of all Allowed Unsecured Claims against the debtor not entitled
to priority treatment, including the general unsecured claim of the IRS. The Class 5 Claims shall
be paid pro rata from the debtor’s projected disposable income, on a quarterly basis (January 15,
April 15, July 15 and October 15), over a period of 3 years without interest.

          C. OTHER PROVISIONS APPLICABLE TO CLASS 2, 3, & 4 CLAIMS

         Prepayment; Lien Retention – The debtor may prepay all or any portion of the Allowed Class
2, 3, or 4 Claims without penalty, at any time and from time-to-time, consistent with any provisions
applicable to prepayment in any applicable loan documents and/or applicable nonbankruptcy law.
The Class 2, Class 3, and Class 4 claimants shall retain their lien(s) in and to their collateral. Except
as specifically provided herein, the terms of the Class 2 and Class 4 claimants’ loan documents shall
remain unchanged.

                               ARTICLE V
          EXECUTION OF PLAN & PROJECTION OF FUTURE OPERATIONS

       The debtor’s Chapter 11 Plan will be implemented by revenues generated and received in
the ordinary course and operation of the debtor’s business. The debtor’s projected revenues and
expenses for the 3 year post-confirmation period are annexed hereto as Exhibit “A”.

                                         ARTICLE VI
                                    LIQUIDATION ANALYSIS

        In the event that this Plan fails and the debtor is forced to liquidate, it is projected that
Walden Savings Bank would ‘foreclose’ on its first lien on the debtor’s assets and would likely be
satisfied from the sale of said assets. United Leasing, Inc. would force a sale of the vehicles upon
which it holds liens. The IRS holds secondary Federal Tax Liens in the total amount of
$185,860.28. The total liquidation value of the debtor’s assets, including vehicles that the debtor
currently owns free and clear, would not be enough to fund creditor claims beyond Walden Savings
Bank (and a portion of the Internal Revenue Service). The debtor’s ambulette service would
terminate and the debtor would seek dissolution from the Secretary of State.




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                                     ARTICLE VII
                           LEASES / EXECUTORY CONTRACTS

       There are no leases or executory contracts for the debtor to assume or reject.


                                    ARTICLE VIII
                          POST-CONFIRMATION MANAGEMENT

       The principals of the debtor, David and Nancy Barnhart, will continue to manage the
debtor’s business and retain the 50% ownership interest in the debtor post-confirmation.

                                          ARTICLE IX
                                           DEFAULT

        In the event of a default under the Plan that are cured by the debtor, the affected
creditor(s) shall file a notice of default with the Bankruptcy Court on notice to the debtor and
counsel for the debtor. The debtor shall have 7 days to object to the notice of default and request
a hearing before the Bankruptcy Court. If the debtor fails to timely file an objection and a
request for a hearing, then the automatic stay of 11 U.S.C. §362(a) shall immediately be vacated
as to such creditor.

                                     ARTICLE X
                           RE-VESTING OF ASSETS IN DEBTOR

        The entry of the Confirmation Order shall vest all assets of the debtor’s estate and the
debtor in the reorganized debtor, free and clear of all Claims of creditors, except as specifically
provided in the Plan.

                                      ARTICLE XI
                               MODIFICATION OF THE PLAN

       The debtor may propose amendments or modifications of this Plan at any time prior to
confirmation, with leave of the Court, upon such notice as the Court shall direct. After
confirmation, the debtor may, with the approval of the Court, and so long as it does not
materially or adversely affect the interest of creditors, remedy any defect or omission, or
reconcile any inconsistencies in the Plan, or in the Order of Confirmation in such manner as may
be necessary to carry out the purposes and effect of this Plan.




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                                     ARTICLE XII
                              RETENTION OF JURISDICTION

                Notwithstanding Confirmation or the Effective Date having occurred, the Chapter
11 Case having been closed, or a Final Decree having been entered, the Bankruptcy Court shall
have jurisdiction of matters arising out of, and related to the Chapter 11 Case and the Plan under,
and for the purpose of, sections 105(a), 1127, 1142 and 1144 of the Bankruptcy Code and for,
among other things, the following purposes:

                 1.     To allow, disallow, determine, liquidate, classify, estimate or establish the
priority or status of any Claim or Equity Interest, including the resolution of any request for
payment of any Administrative Claim and the resolution of any and all objections to the
allowance or priority of Claims;

             2. To grant or deny any applications for allowance of compensation or
reimbursement of expenses authorized pursuant to the Bankruptcy Code or the Plan;

                3.      To resolve any matters related to the assumption, assumption and
assignment, or rejection of any executory contract or unexpired lease to which the Debtor is a
party or with respect to which the Debtor may be liable and to hear, determine and, if necessary,
liquidate, any Claims arising therefrom, including those matters related to the amendment after
the Effective Date to the list of executory contracts and unexpired leases to be rejected;

                4.    To ensure that Distributions to Holders of Allowed Claims and Equity
Interests are accomplished pursuant to the provisions of the Plan, including ruling on any motion
or objection Filed pursuant to the Plan;

                  5.       To decide or resolve any motions, adversary proceedings, contested or
litigated matters and any other matters and grant or deny any applications involving the Debtor
or its affiliates, directors, employees, agents or professionals that may be pending on the
Effective Date;

              6.      To enter such orders as may be necessary or appropriate to implement or
consummate the provisions of the Plan and all contracts, instruments, releases, and other
agreements or documents created in connection with the Plan;

               7.        To resolve any cases, controversies, suits or disputes that may arise in
connection with the Consummation, interpretation or enforcement of the Plan or any Person’s or
Entity’s obligations incurred in connection with the Plan, including, among other things, any
avoidance actions or subordination actions under sections 510, 544, 545, 547, 548, 549, 550,
551, and 553 of the Bankruptcy Code;

              8.       To issue injunctions, enter and implement other orders or take such other
actions as may be necessary or appropriate to restrain interference by any Person or Entity with

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Consummation or enforcement of the Plan, except as otherwise provided herein;

                9.      To resolve any cases, controversies, suits or disputes with respect to the
releases, injunction and other provisions contained herein and enter such orders as may be
necessary or appropriate to implement such releases, injunction and other provisions;

              10.      To enter and implement such orders as are necessary or appropriate if
the Confirmation Order is for any reason modified, stayed, reversed, revoked or vacated;

                11.       To determine any other matters that may arise in connection with or
relate to the Plan, the Confirmation Order or any contract, instrument, release, or other
agreement or document created in connection with the Plan;

               12.      To enter an order and/or Final Decree concluding the Chapter 11 Case;

               13.      To consider any modification of the Plan under section 1127 of the
Bankruptcy Code and/or modification of the Plan before “substantial consummation” as defined
in section 1101(2) of the Bankruptcy Code;

               14.      To protect the property of the Estate from adverse Claims or interference
inconsistent with the Plan, including to hear actions to quiet or otherwise clear title to such
property based upon the terms and provisions of the Plan, or to determine the Debtor’s exclusive
ownership of claims and Causes of Action retained under the Plan;

               15.       To hear and determine matters pertaining to abandonment of property of
the Estate;

               16.       To consider any modifications of the Plan, to cure any defect or
omission, or reconcile any inconsistency in any order of the Bankruptcy Court, including,
without limitation, the Confirmation Order;

               17.       To interpret and enforce any orders previously entered in the Chapter 11
Case to the extent such orders are not superseded or inconsistent with the Plan;

               18.       To recover all Assets of the Debtor and property of the Estate, wherever
located;

              19.       To hear and determine matters concerning state, local, and federal taxes
in accordance with sections 345, 505, and 1146 of the Bankruptcy Code;

               20.      To hear and act on any other matter not inconsistent with the Bankruptcy
Code;

               21.      To consider and act on the compromise and settlement of any litigation,

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Claim against or Cause of Action on behalf of the Estate; and

               22.      To interpret and enforce the injunctions contained in the Confirmation
Order.

                                  ARTICLE XIII
                     DISCHARGE OF CLAIMS AND INDEBTEDNESS

        Except as provided for herein, in accordance with §§1192 and 1141(d)(1)(A) of the
Bankruptcy Code, upon completion of the payments called for through the third anniversary of
the Plan, all indebtedness of and claims against the debtor shall be discharged in exchange for
the rights acquired under this Plan.

                                     ARTICLE XIV
                                  GENERAL PROVISIONS

        Reserve for Disputed Claims. On and after the Effective Date, the Distributions reserved
for the holders of Disputed Claims shall not be distributed but shall be held by the Reorganized
debtor in Disputed Claims Reserve. Except to the extent that the Court shall have estimated
under section 502(c) of the Code or otherwise determined that a good and sufficient reserve for
Disputed Claims is less than the full amount thereof, there will be deposited into the Disputed
Claims Reserve an amount of cash which would have been distributed on account of all Disputed
Claims if all Disputed Claims were allowed in the full amount claimed by the holders thereof.

       At such time as a Disputed Claim becomes an Allowed Claim, the Distribution which
would have been disbursed had the Disputed Claim been an Allowed Claim on the Effective
Date shall be released from the Disputed Claims Reserve and delivered to the holder of such
Allowed Claim within 30 days. At such time as all Disputed Claims have been finally
determined, the balance of the cash not theretofore distributed shall be returned to the
Reorganized Debtor.

        Binding Effect. Confirmation of the Plan shall bind the reorganized debtor and every
creditor of the debtor whether or not the claim of such creditor is impaired under the Plan and
whether or not such creditor has accepted the Plan.




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       Cram Down. In the event that all classes of claims and interests impaired under the Plan
do not vote in favor of the Plan, the debtor requests that the Court confirm the Plan under the
provisions set forth in 11 U.S.C. §1191(b), as the Plan does not discriminate unfairly and is fair
and equitable with respect to each impaired class.

Dated: Wappingers Falls, New York
       September 2, 2020
                                                     THE MASTER’S COACH, LTD.

                                             By:     /s/ David Barnhart
                                                     DAVID BARNHART, President

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